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                                         UNITED STATES BANKRUPTCY COURT
                                       FOR THE WESTERN DISTRICT OF MICHIGAN

IN RE:                                                                               GG 23-02579
JACOB HALEY NASH                              xxx-xx-4067                            11/ 7/23



                             AMENDED ORDER DIRECTING EMPLOYER TO PAY TRUSTEE

The above-noted debtor has filed a Chapter 13 Bankruptcy Case and has consented to the deduction of plan payments directly
from his/her wages to the Chapter 13 Trustee.

THEREFORE, IT IS HEREBY ORDERED that the debtor’s employer,

                                                           CHRISTIAN CARE
                                                     2053 SOUTH SHERIDAN DRIVE
                                                        MUSKEGON, MI 49442-

         shall deduct the sum of $256.15 PER Bi-Weekly PAY beginning the next pay period following the receipt of this Order and
remit said amount to:

                                                      Brett N. Rodgers, Trustee
                                                    CHAPTER 13 TRUST ACCOUNT
                                                       2482 Momentum Place
                                                       Chicago, IL 60689-5324

The Trustee so appointed herein or his successor in interest: /s/ Brett N. Rodgers

IT IS FURTHER ORDERED that all earnings of the debtor, except amounts requested to be withheld by any provisions of the laws
of the United States, this state or any political subdivision, or by any insurance, pension or union dues agreement between the
employer and the debtor, or by Order of this Court, be paid to the debtor in accordance with the employer’s usual payroll procedure.

IT IS FURTHER ORDERED that no deductions for any garnishment, wage assignment, credit union or other purpose not
specifically authorized by this Court, be made from the earnings of said debtor, except Friend of the Court, if applicable, and [other
possible deductions].

IT IS FURTHER ORDERED that a copy of this Order be served upon the debtor(s), attorney for the debtor(s) (if applicable),
Chapter 13 Trustee and employer.


RETURN FOR SERVICE TO: Trustee, 99 Monroe Ave NW Ste 601, Grand Rapids, MI 49503

SERVED BY MAIL: Served By: _________________________                       Date: _____________________

EMPLOYER: SEE ABOVE


DEBTOR:           JACOB HALEY NASH
                  2160 GENEVA LN

                  NORTON SHORES, MI 49441

ATTORNEY:         RYAN B. MORAN
                  MORAN LAW
                  25600 WOODWARD AVE SUITE 201
                  ROYAL OAK, MI 48067-
                                                            END OF ORDER




  IT IS SO ORDERED.

  Dated March 29, 2024
